      Third District Court of Appeal
                               State of Florida

                        Opinion filed August 21, 2024.
       Not final until disposition of timely filed motion for rehearing.

                            ________________

                             No. 3D23-1738
                       Lower Tribunal No. 22-22589
                          ________________


                            Glenn Spradley,
                                  Appellant,

                                     vs.

                         Tina Edgecomb et al.,
                                 Appellees.



     An appeal from the Circuit Court for Miami-Dade County, Barbara
Areces, Judge.

     Glenn Spradley, in proper person.

     The Foodman Firm, P.A., Eduardo J. Casal, Jessiya Joseph, and
Daniel Foodman, for appellees, B. Alvarez Balmaceda and M. Corrales.


Before FERNANDEZ, MILLER, and BOKOR, JJ.

     MILLER, J.
      Appellant, Glenn Spradley, an incarcerated prisoner, challenges an

order dismissing his civil lawsuit against appellees, the assistant warden and

law librarian at Dade Correctional Institution. The crux of his complaint was

that the failure to allow him to access the prison law library for a minimum of

twenty-five hours per week constituted a property deprivation without due

process of law.1 Casting aside any application of qualified immunity, we

conclude the trial court properly found the conclusory allegations failed to

establish either a constitutionally protected property interest or “some

quantum of detriment” resulting from the unspecified limitation on library

access. Lambrix v. Singletary, 618 So. 2d 787, 788 (Fla. 1st DCA 1993);

see also Henderson v. Crosby, 883 So. 2d 847, 856 (Fla. 1st DCA 2004)

(“Appellants’ argument[] [of unconstitutional library hour restrictions] fail[s] to

convince us that these actions . . . create a significant obstacle to their



1
  Spradley did not allege the library was not open for twenty-five hours per
week; he only contended he was not given twenty-five hours of weekly
access. See Fla. Admin. Code R. 33-501.301(3)(a) (“Law libraries shall be
open for inmate use a minimum of 25 hours per week . . . . Only times that
inmates have access to the law library collection and inmate law clerks, or
when inmate law clerks are providing research assistance to close
management, death row, other special status populations, shall be counted.
The law library’s operating schedule shall be designed to permit inmates
access to legal materials consistent with: 1. Inmates’ security classification
and housing assignments; 2. Staff and space limitations; 3. Scheduled work
and other assignments; and, 4. Any other limitation based on the interests of
security and order of the institution.”).

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access to courts.”); Johnson v. Avery, 393 U.S. 483, 490 (1969) (“[T]he State

may impose reasonable restrictions and restraints upon the acknowledged

propensity of prisoners to abuse both the giving and the seeking of

assistance in the preparation of applications for relief: for example, by

limitations on the time and location of such activities and the imposition of

punishment for the giving or receipt of consideration in connection with such

activities.”); Walker v. Mintzes, 771 F.2d 920, 932 (6th Cir. 1985) (holding

that restricted library access does not necessarily amount to denial of access

to courts, and that prison regulations reasonably limiting times, places, and

manner in which inmates may engage in legal research and preparation of

legal papers are permissible as long as regulations do not frustrate access

to courts); Shango v. Jurich, 965 F.2d 289, 292 (7th Cir.1992) (finding

“[l]ibrary access may be restricted by time, place[,] and manner regulations

that are ‘justified in light of legitimate security considerations’”) (quoting

Caldwell v. Miller, 790 F.2d 589, 606 (7th Cir. 1986)); Wilson v. Blankenship,

163 F.3d 1284, 1290 (11th Cir. 1998) (“[P]risoners have no inherent or

independent right of access to a law library or to legal assistance.”); Thomas

v. Campbell, 12 F. App’x 295, 297 (6th Cir. 2001) (“There is no constitutional

right to any particular number of hours in the law library.”); Junior v. Reed,

693 So. 2d 586, 593 (Fla. 1st DCA 1997) (“If this action on the part of the



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defendant is not a violation of a settled statutory or constitutional right, and it

is not for the reasons we have given, no amount of effort in amending the

complaint will make it so.”); Jordan v. Logan, 32 F. App’x 958, 958 (9th Cir.

2002) (holding plaintiff did not have property or liberty interest in access to

library); Carlock v. Osborne, No. 4:14CV–P14–M, 2014 WL 2218211, at *4

(W.D. Ky. May 28, 2014) (finding plaintiff failed to state due process claim

because there is no constitutionally protected right of access to law library);

Howard v. Osborne, No. 4:13CV–P129–M, 2014 WL 1491245, at *2 (W.D.

Ky. Apr.15, 2014) (holding lack of access to legal material or law library does

not state due process claim); Bradley v. Mason, 833 F. Supp. 2d 763, 773

(N.D. Ohio 2011) (“[T]he lack of a law library does not per se deny the

accused [of] due process.”); Benjamin v. Fraser, 264 F.3d 175, 185 (2d Cir.

2001) (“Because law libraries and legal assistance programs do not

represent constitutional rights in and of themselves, but only the means to

ensure ‘a reasonably adequate opportunity to present claimed violations of

fundamental constitutional rights to the courts,’ prisoners must demonstrate

‘actual injury’ in order to have standing.”) (quoting Lewis v. Casey, 518 U.S.

343, 351 (1996)). Accordingly, we affirm the final order under review.

      Affirmed.




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